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                        EXHIBIT A
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 4. Therefore, personal jurisdiction is proper over Defendant pursuant to Ohio Revised Code

     §2307.382(A)(1), (2), and/or (3).

  5. Venue is proper pursuant to Civ. R. 3(B)(1), (2), (3), and/or (6).

 6. This Court is a court of general jurisdiction over the claims presented herein, including all

     subject matters of this Complaint.

                                               FACTS

 7. Hendrickson is a former employee, of Defendant.

 8. At all times noted herein, Hendrickson was qualified for her position with Defendant and

     could fully perform the essential functions of her job, with or without a reasonable

     accommodation.

 9. Hendrickson is disabled due to an injury in the workplace with Amazon (infra), and thus

     is in a protected class for disability.

 10.Alternatively, Amazon began perceiving Hendrickson as disabled after her injury (infi•a),

     placing her in the protected class.

 11. Hendrickson is age 58 and thus is in a protected class for her age.

 12.To Hendrickson's knowledge, she was one of the oldest employees in her position. All

     others named herein are outside her protected age class, or at least substantially younger

     than her, upon information and belief.

 13.Hendrickson worked for Amazon as a Tug Driver and Ramp Crew from April 29, 2018

     until Amazon terminated Hendrickson's employment on October 24, 2020.

 14.Hendrickson's early employment was overall positive.

 15.Hendrickson worked multiple roles for Amazon during her early employment, and

     eventually was moved specifically to the Air Transport division as a tug driver.



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 16.By in or around October 2019, Hendrickson was working full-time as a tug driver.

 17. On or about October 25, 2019, Hendrickson was working with a new trainee who was

     attempting to get a temporary tug driver license.

 18. While Hendrickson was directly behind the tug setting its lock, a ramp crew member

     ushered the trainee forward.

 19.As the tug drove forward, Hendrickson became pinned between two pieces of equipment.

 20. After Hendrickson was pinned, a universal loading device fell onto Hendrickson's leg,

     badly injuring it.

 21. Amazon then took Hendrickson to the medical bay for evaluation.

 22. Hendrickson then provided a written statement to Amazon regarding what had happened.

 23. The next day, Hendrickson's leg looked terrible, so she went to her doctor, who then

     diagnosed her with a torn ACL, a torn meniscus, hairline fractures in her kneecap, and a

    sprained tendon.

 24. Hendrickson then filed a Worker's Compensation claim for the injury.

 25. Hendrickson was then offer work for resulting medical reasons from October 25, 2019 until

    she returned on or about May 13, 2020.

 26. Hendrickson remained in contact with Amazon as required during her time out.

 27. By the time Hendrickson returned to work, there was a nearly-entirely new crew at the site.

 28. At her return, Hendrickson was given a few more of training to get back into the tug driving

    swing.

 29. Over the next months, Hendrickson's leg continued to be a problem at work (and

    throughout her life), but it did not interfere with her ability to perform her essential job

    functions.




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 30. In or around late September/early October 2020, Hendrickson was dispatched to Plane 23

    at Gate 23.

 31. That day, there were visibility problems caused by intemperate weather. ,

 32. Hendrickson drove her tug to the designated spot and lined herself with the K-Loader. She

    then waited for the marshal to instruct her to continue.

 33. Josh (LNU, area manager, late 30s) approached Hendrick's tug, and told her to wait on the

    second wing-locker.

 34. Hendrickson did not see the relevant beacon light due to the inclement weather.

 35. Though John (LNU) called this a"coach-and-go" moment, but told Hendrickson that her

    tug license would be revoked until she was re-trained.

 36. Hendrickson complained that others who had made minor mistakes and were not injured

    as she was had not had their licenses revoked. This was a protected complaint of

    discrimination.

 37. John (LNU) then told Hendrickson to wait inside the plane. Hendrickson could not get into

    the plane due to her disabled leg, so John (LNU) sent her home instead.

 38. This was notice to John (LNU) of Hendrickson's disability and additional notice of it to

    Amazon.

 39. The next day, Hendrickson developed a fever and reported it to her superiors. She was

    concerned of potentially contracting COVID-19.

 40. Hendrickson was then sent to HR (and not the medical bay, for some reason).

 41. Hendrickson was then sent home pending a negative COVID-19 test.

 42. Hendrickson provided that negative test and returned to work on or about October 7, 2020.




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 43. Hendrickson then began her re-training for the tug and returned back to her regular job

    duties a few days after.

 44. On or about October 24, 2020, Hendrickson was called to meet with HR representatives: a

    male (name unknown, 30s) and a female (late 20s) representative.

 45. After Hendrickson reviewed what had happened again roughly one month prior, the male

    HR representative claimed her error to be a terminable offense.

 46. Hendrickson pushed back noting her manager told her it was only a"coach-and-go"

    moment, meaning likely only a verbal warning.

 47. Hendrickson then asked why she had been punished multiple for the same, minor error.

 48. Hendrickson's employment was then terminated citing that issue.

 49. Disparately, Amazon did not punish non-disabled employees multiple for minor issues

    (e.g. Andrea Downing, who had tug-driven a plane into a fuselage causing several million

    dollars in damage).

 50. Amazon did not follow its progressive discipline policy when terminating Hendrickson's

    employment.

 51. Amazon's refusal to follow its policy was an adverse employment action against

    Hendrickson.

 52. Defendant's termination of Hendrickson was an adverse employment action against her.

 53. Defendant's purported reason(s) for Hendrickson's termination was pretextual.

 54. Defendant actually terminated Hendrickson's employment discriminatorily against her

    age, her disabilities, to interfere with her FMLA rights, in retaliation against her quarantine

    for the potential COVID-19 diagnosis, and/or in retaliation against her protected

    complaints.



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 55. As a result of the above, Hendrickson has suffered damages.

    COUNT I: AGE DISCRIIVIINATION IN VIOLATION OF R.C. &4112, et seA.

 56. Hendrickson restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

 57. Hendrickson is 58 years old, and thus is in a protected class for her age.

 58. R.C. § 4112 et seq. provides that it is an unlawful discriminatory practice for an employer

    to discriminate against an employee on the basis of the employee's age.

 59. Defendant treated Hendrickson differently than other similarly situated employees based

    upon her age.

 60. Defendant's termination of Hendrickson was an adverse employment action against her.

 61. Defendant's purported reason(s) for Hendrickson's termination was pretextual.

 62. Defendant actually terminated Hendrickson's employment due to her age.

 63. Defendant violated R.C. § 4112 et seq. by terminating Hendrickson because of her age.

 64. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by treating Hendrickson differently

    from other similarly situated employees outside her protected class.

 65. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their employment

    policies in a disparate manner based on Hendrickson's age.

 66. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their disciplinary

    policies in a disparate manner based on Hendrickson's age.

 67. Hendrickson incurred emotional distress damages as a result of Defendant's conduct

    described herein.

 68. As a direct and proximate result of Defendant's acts and omissions, Hendrickson has

    suffered and will continue to suffer damages.



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COUNT II: DISABILITY DISCRIMINATION IN VIOLATION OF R.C. § 4112, et sep.

 69. Hendrickson restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

 70. Hendrickson is in a protected class for her disabilities (described supra).

 71. R.C. § 4112 et seq. provides that it is an unlawful discriminatory practice for an employer

    to discriminate against an employee on the basis of the employee's disabilities.

 72. Defendant treated Hendrickson differently than other similarly situated employees based

    upon her d.isability.

 73. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by treating Hendrickson differently

    from other similarly situated employees outside her protected class.

 74. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their employment

    policies in a disparate manner based on Hendrickson's disability.

 75. Defendant violated R.C. § 4112.02 and R.C. § 4112.99 by applying their disciplinary

    policies in a disparate manner based on Hendrickson's disability.

 76. Hendrickson incurred emotional distress damages as a result of Defendant's conduct

    described herein.

 77. As a direct and proximate result of Defendant's acts and omissions, Hendrickson has

    suffered and will continue to suffer damages.

                               COUNT III: RETALIATION

 78. Hendrickson restates each and every prior paragraph of this complaint, as if it were fully

    restated herein.




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 79. As a result of the Defendant's discriminatory conduct described above, Hendrickson

     complained of the discrimination, harassment, and disparate treatment she was

     experiencing.

 80. Subsequent to Hendrickson's complaints to management about harassment, bullying, and

    disparate treatment toward her, Defendant took adverse employment actions against

    Hendrickson, including, but not limited to, terminating her employment.

 81. Defendant's actions were retaliatory in nature based on Hendrickson's opposition to the

    unlawful discriminatory conduct.

 82. Pursuant to R.C. § 4112 et seq., it is an unlawful discriminatory practice to discriminate in

    any manner against any other person because that person has opposed any unlawful

    discriminatory practice:

 83. As a direct and proximate result of Defendant's retaliatory discrimination against and

    discharge of Hendrickson, she has suffered and will continue to suffer damages.

  COUNT IV: WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

 84. Hendrickson restates each and every prior paragraph of this Complaint, as if it were fully

    restated herein.

 85. A clear public policy exists and is manifested in Ohio and federal statutes, including

    Governor DeWine's Stay-At-Home Order, the Family First Coronavirus Relief Act

    ("FFCRA"), R.C. § 4101.11 and/or § 4101.12, and/or administrative regulations, or in the

    common law, in favor of providing workers with a healthy and safe work environment, and

    against terminating an employee based on complaints of unsafe working conditions caused

    by the COVID-19 pandemic and/or other causes.

 86. A clear public policy exists and is manifested in Ohio and federal statutes, including

    Governor DeWine's Stay-At-Home Order, the FFCRA, R.C. § 4101.11 and/or § 4101.12,
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     and/or administrative regulations, or in the common law, in favor of providing workers

     with a healthy and safe work environment, and against terminating an employee based on

     the employee's quarantine for potential exposure to COVID-19.

  87. Hendrickson repeatedly made reports to Defendant about the unethical, unlawful, and/or

     policy-violating behavior that was going on there, including, but not limited to, unsafe

     working conditions caused by unsafe working conditions related to the coronavirus

     pandemic and other things.

  88. Only days before her termination, Hendrickson was forced to quarantine pending a

     negative COVID-19 test.

  89. Rather than allowing Hendrickson to return to work after her negative test without issue,

     Amazon immediately began looking for reasons to terminate her employment.

  90. Defendant's termination of Hendrickson's employment jeopardizes these public policies

     by undermining the authority of Gubernatorial orders, federal relief policies, and state

     statutes.

  91. Defendant's termination of Hendrickson's employment was motivated by Hendrickson's

     conduct related to these public policies because of the risk to her and to the public's health.

  92. Defendant's purported reason for Hendrickson's termination was pretextual.

  93. Defendant actually terminated Hendrickson's employment due to her use of COVID-19

     quarantine time off.

  94. Defendant's termination of Hendrickson jeopardizes these public policies.

  95. Defendant's termination of Hendrickson was motivated by conduct related to these public

     policies.

  96. Defendant had no overriding business justification for terminating Hendrickson.




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  97. As a direct and proximate result of Defendant's conduct, Hendrickson has suffered and

     will continue to suffer damages, including economic, emotional distress and physical

     sickness damages.


                                 DEMAND FOR RELIEF

  WHEREFORE, Hendrickson demands from Defendant the following:

     a) Issue a permanent injunction:

           i.    Requiring Defendant to abolish discrimination, harassment, and retaliation;

          ii.    Requiring allocation of significant funding and trained staff to implement all

                 changes within two years;

          iii.   Requiring removal or demotion of all supervisors who have engaged in

                 discrimination, harassment, or retaliation, and failed to meet their legal

                 responsibility to promptly investigate complaints and/or take effective action to

                 stop and deter prohibited personnel practices against employees;

          iv.    Creating a process for the prompt investigation of discrimination, harassment,

                 or retaliation complaints; and

          V.     Requiring mandatory and effective training for all employees and supervisors

                 on discrimination, harassment, and retaliation issues, investigations, and

                 appropriate corrective actions;

     b) Issue an order requiring Defendant to expunge her personnel file of all negative

        documentation;

     c) An award against each Defendant for compensatory and monetary damages to

        compensate Hendrickson for physical injury, physical sickness, lost wages, emotional




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        distress, and other consequential dainages, in an amount in excess of $25,000 per claim

        to be proven at trial;

     d) An award of punitive damages against each Defendant in an amount in excess of

        $25,000;

     e) An award of reasonable attorneys' fees and non-taxable costs for Hendrickson's claims

        as allowable under law;

     f) An award of the taxable costs of this action; and

     g) An award of such other relief as this Court may deem necessary and proper.




                                                  Respectfully submitted,


                                                    /s/ Matthew Bruce
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                                                  Attorneysfor Plaintiff Rose Hendrickson




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                                      JURY DEMAND

Plaintiff Rose Hendrickson demands a trial by jiiry by the maximum number'of jurors permitted.


                                                    /s/ Matthew Bruce
                                                   Matthew G. Bruce (0083769)




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